 Case 1:23-cv-01166-CFC Document 10 Filed 11/21/23 Page 1 of 2 PageID #: 52




                    THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

UNWIRED GLOBAL SYSTEMS
LLC,
                                             CASE NO. 1:23-CV-01166-CFC
       Plaintiff,
                                             PATENT CASE
              v.                             JURY TRIAL DEMANDED

CLEARBLADE, INC.,
       Defendant.

        PLAINTIFF’S NOTICE OF DISMISSAL WITH PREJUDICE

      Plaintiff Unwired Global Systems LLC, pursuant to Rule 41(a)(1)(A)(i) of the

Federal Rules of Civil Procedure, hereby provides notice that it dismisses with

prejudice all claims by Plaintiff against Defendant ClearBlade, Inc. Each party shall

bear its own costs, expenses, and attorneys’ fees.



Date: November 21, 2023                    Respectfully submitted,


                                           /s/ John C. Phillips, Jr.
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Case 1:23-cv-01166-CFC Document 10 Filed 11/21/23 Page 2 of 2 PageID #: 53




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                                       Counsel for Plaintiff
                                       Unwired Global Systems LLC




                SO ORDERED this ________ day of ______________, ______.



                ________________________________
                The Honorable Colm F. Connolly
                Chief, United States District Court Judge
